                       Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas


        FRESHUB, INC., and FRESHUB, LTD.,                            )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 6:19-cv-388
                                                                     )
       AMAZON.COM, INC., AMAZON DIGITAL                              )
     SERVICES, LLC, PRIME NOW, LLC, WHOLE                            )
             FOODS MARKET, INC.,                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Amazon.com, Inc.
                                           c/o Corporation Service Company
                                           251 Little Falls Drive
                                           Wilmington, DE 19808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John P. Palmer (Texas Bar No. 15430600)
                                           NAMAN HOWELL SMITH & LEE, PLLC
                                           400 Austin Avenue, Suite 800, P.O. Box 1470
                                           Waco TX 76703
                                           palmer@namanhowell.com
                                           Telephone: (254) 755-4100

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:19-cv-388

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas


        FRESHUB, INC., and FRESHUB, LTD.,                            )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 6:19-cv-388
                                                                     )
       AMAZON.COM, INC., AMAZON DIGITAL                              )
     SERVICES, LLC, PRIME NOW, LLC, WHOLE                            )
             FOODS MARKET, INC.,                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Amazon Digital Services, LLC
                                           c/o Corporation Service Company
                                           251 Little Falls Drive
                                           Wilmington, DE 19808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John P. Palmer (Texas Bar No. 15430600)
                                           NAMAN HOWELL SMITH & LEE, PLLC
                                           400 Austin Avenue, Suite 800, P.O. Box 1470
                                           Waco TX 76703
                                           palmer@namanhowell.com
                                           Telephone: (254) 755-4100

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:19-cv-388

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas


        FRESHUB, INC., and FRESHUB, LTD.,                            )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 6:19-cv-388
                                                                     )
       AMAZON.COM, INC., AMAZON DIGITAL                              )
     SERVICES, LLC, PRIME NOW, LLC, WHOLE                            )
             FOODS MARKET, INC.,                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Prime Now, LLC
                                           c/o Corporation Service Company
                                           251 Little Falls Drive
                                           Wilmington, DE 19808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John P. Palmer (Texas Bar No. 15430600)
                                           NAMAN HOWELL SMITH & LEE, PLLC
                                           400 Austin Avenue, Suite 800, P.O. Box 1470
                                           Waco TX 76703
                                           palmer@namanhowell.com
                                           Telephone: (254) 755-4100

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:19-cv-388

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas


        FRESHUB, INC., and FRESHUB, LTD.,                              )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                          Civil Action No. 6:19-cv-388
                                                                       )
       AMAZON.COM, INC., AMAZON DIGITAL                                )
     SERVICES, LLC, PRIME NOW, LLC, WHOLE                              )
             FOODS MARKET, INC.,                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Whole Foods Market, Inc.
                                           c/o CT Corporation System
                                           1999 Bryan Street
                                           Suite 900
                                           Dallas, TX 75201



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John P. Palmer (Texas Bar No. 15430600)
                                           NAMAN HOWELL SMITH & LEE, PLLC
                                           400 Austin Avenue, Suite 800, P.O. Box 1470
                                           Waco TX 76703
                                           palmer@namanhowell.com
                                           Telephone: (254) 755-4100

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                        Case 6:19-cv-00388-ADA Document 2 Filed 06/24/19 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:19-cv-388

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
